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P/AUL PONOMARENKO in Pro Per
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEVADA

 

PAUL PONOMARENKO, an individual,
Plaintiff,
v.

PROJECT VEGAS MANSION, corporate
entity of unknown form, NATHAN SHAPIRO,
an individual; and DOES 1 through 50,

Defendants.

 

NATHAN SHAPIRO, an individual,
Counterclaimant,
v.
PAUL PONOMARENKO, an individual,
DOES 1 through 50 and ROE business entities
51-100,
Counterdei`endants.

 

NATHAN SHAPIRO, an individual,
Third Party Plaintiff,

VS.

SUMMIT ESTATE, INC. DBA SUMMIT
ESTATE RECOVERY CENTER, a

California corporation; LUKE GERHARD
KROGH, an individual; DOES 1 through 50
and ROE business entities 51 through 100,

Third Party Defendants.

 

 

Case No.: 2:18-cv-00216-RFB-CWH

PLAINTIFF PAUL
PONOMARENKO’S
DECLARATION OF
COMPLETING ECF TUTORIAL
PURSUANT TO ORDER NO. ECF-
115

 

 

 

PLAINT[FF PAUL PONOMARENKO’S DECLARATION OF COMPLETING ECF TU'I'ORIAL PURSUANT TO ORDER NO. ECF-l 15
CASE NO. 2:18-cv-00216-RFB-CWH

 

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PLAINTIFF PAUL PONOMARENKO’S DECLARATION OF COMPLETING ECF
TUTORIAL PURSUANT TO ORDER NO. ECF-115

I, Paul Ponomarenko, declare as follows:

l. I have personal knowledge of the facts in this Declaration.

2. Pursuant to the Court’s Order set forth in ECF-105, I have reviewed and completed the
CM/ECF Tutorial located at the following URL: https:,»"/www.pacer.gov/'cmecf/de/.

3. I completed my tutorial on CM/ECF on May 23’d, 2018.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed this May 23’d, 2018 in Santa Clara, California.

a@\:v

PAULWFI<IOMAKENKO

PLAINTIFF PAUL PONOMARENKO’S DECLARATION OF COMPLETING ECF TUTORIAL PURSUANT TO ORDER NO. ECF~I 15
2:18-cv-00216-RFB~CWH

 

 

 

